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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT COURT OF SOUTH CAROLINA

 KIZZY ESTES,                                   )       C/A No.: 5:17-00834-RMG-KDW
                                                )
         Plaintiffs,                            )
                                                )
 vs.                                            )
                                                )
 CONSUELA FERGUSON, Individually                )              RULE 26(f) REPORT
 And/Or In Her Official Capacity As             )
 Employee of South Carolina Department          )
 of Corrections; JEFF SCOTT,                    )
 Individually And/Or In His Official            )
 Capacity As Employee of South Carolina         )
 Department of Corrections; MAMIE               )
 CALLAHAN, Individually And/Or In               )
 Her Official Capacity As Employee of           )
 South Carolina Department of                   )
 Corrections; SOUTH CAROLINA                    )
 DEPARTMENT OF CORRECTIONS;                     )
                                                )
        Defendants.                             )
                                                )


       The parties, having consulted pursuant to Rule 26(f), Fed. R. Civ. P., hereby report as
follows (check one below):

               We agree that the schedule set forth in the Conference and Scheduling Order filed
               is appropriate for this case. The parties’ proposed discovery plan as required
               by Fed. R. Civ. P. Rule 26(f) and the information required by Local Civil
               Rule 26.03 will be separately filed by the parties.

               We agree that the schedule set forth in the Conference and Scheduling Order filed
               March 31, 2017 requires modification as set forth in the proposed Consent
               Amended Scheduling Order which will be e-mailed to chambers as required. The
               parties’ proposed discovery plan as required by Fed. R. Civ. P. Rule 26(f)
               and the information required by Local Civil Rule 26.03 will be jointly filed
               by the parties.

               We are unable, after consultation, to agree on a schedule for this case. We,
               therefore, request a scheduling conference with the Court. The parties’ proposed
               discovery plan as required by 26(f) Fed. R. Civ. P., with disagreements noted,
               and the information required by Local Civil Rule 26.03 will be separately
               filed by the parties.


                              (SIGNATURE PAGE ATTACHED)
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PLAINTIFF(S)

 s/ Aaron Mayer
Signature of Plaintiff’s Counsel

Aaron Mayer, for Kizzy Estes
Printed Name of Plaintiff’s Counsel
and Party Represented

 s/ J. Edward Bell, III
Signature of Plaintiff’s Counsel

J. Edward Bell, III, for Kizzy Estes
Printed Name of Plaintiff’s Counsel
and Party Represented

DEFENDANT(S)

 S/Steven M. Pruitt                       .
Signature of Defendant’s Counsel

Steven M. Pruitt, for all Defendants      .
Printed Name of Defendant’s Counsel
and Party Represented
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              MEDIATION OF CASES PENDING BEFORE JUDGE GERGEL

Case Name:     Kizzy Estes v. Consuela Ferguson, et. Al

C/A No.:       5:17-00834-RMG-KDW

1.     Would early mediation be useful in this case? If the answer is in the affirmative, when
would you propose to conduct mediation in this matter?

Response:      The parties have conferred and do not believe early mediation would be
beneficial.

2.     If early mediation is not thought to be useful, when is the earliest stage in which you
believe it might be useful?

Response:      The parties believe mediation would not be beneficial until there has been an
opportunity to conduct and possibly complete discovery.

3.     Please provide the court with any additional information that would assist in setting a
timeline for required mediation.

Response:       The parties have moved to amend the Scheduling Order and believe that
mediation would have a better chance of success if it is conducted after the parties have the
opportunity to conduct discovery. Furthermore, as discussed in the parties’ Motion to Amend
the Scheduling Order, there are criminal charges pending against the Plaintiff in relation to the
incident alleged in Plaintiff’s Complaint. Plaintiff’s counsel is representing Plaintiff in relation
to the criminal charges and is hopeful these can be dismissed or tried in the near future. The
parties would ask that the mediation deadline be placed in January 2018 to allow time for
resolution of the criminal charges and the parties to then conduct discovery.


RESPECTFULLY SUBMITTED.


        s/Steven M. Pruitt
       Steven M. Pruitt, Fed. Id No. 6083
       ATTORNEYS FOR THE DEFENDANTS

        s/ Aaron Mayer
       Aaron Mayer, Esquire
       ATTORNEYS FOR THE PLAINTIFF


        s/ J. Edward Bell, III
       J. Edward Bell, III, Esquire
       ATTORNEYS FOR THE PLAINTIFF

May 3, 2017
